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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


BEVERLY HARDY,                                           :      CIVIL ACTION
         Plaintiff,                                      :
                                                         :
       v.                                                :      No.: 11-cv-400
                                                         :
NCO FINANCIAL SYSTEMS, INC.                              :
          Defendant.                                     :


                                             ORDER

                AND NOW, TO WIT: This            20TH        day of July, 2011, having filed a Notice

of Voluntary Dismissal and upon Order of the Court pursuant to the provisions of Rule 41.1(b) of

the Local Rules of Civil Procedure of the Court, it is

                ORDERED that the above action is DISMISSED with prejudice, pursuant to

agreement of counsel without costs.


                                              BY THE COURT:



                                              /s/ Lynne A. Sitarski
                                              HONORABLE LYNNE A. SITARSKI
                                              United States Magistrate Judge
